Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 1 of 17 Page ID #223




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS


CITY OF EAST ST. LOUIS, ILLINOIS,              )
           Plaintiff,                          )         Cause No.     3:21-cv-00232-DWD
                                               )
v.                                             )
                                               )
MONSANTO CORPORATION,                          )
         Defendant.                            )


               DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS
          COUNTS II-VI AND VIII-X OF THE FIRST AMENDED COMPLAINT
                  AND SUPPORTING MEMORANDUM OF LAW

        Defendants Monsanto Company (“Monsanto”), Pharmacia LLC (“Pharmacia”), and

Solutia Inc. (“Solutia”) (collectively “Defendants”) hereby jointly move to dismiss Counts II-VI

and Counts VIII-X of Plaintiff’s First Amended Complaint (Doc. 29), pursuant to Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim.

                                           INTRODUCTION

        Many of Plaintiff’s claims against Defendants Monsanto Company (“Monsanto”),

Pharmacia, LLC (“Pharmacia”) and Solutia Inc. (“Solutia”) (collectively, “Defendants”), for

alleged contamination of certain unidentified properties in the City of East St. Louis (“Plaintiff”

or the “City”), represent an attempt to fit distinct factual allegations into inapplicable legal

doctrines. Plaintiff cannot do so. Therefore, this Court should dismiss Counts II – VI and Counts

VIII – X of Plaintiff’s First Amended Complaint (hereinafter, “Complaint”) pursuant to Rule

12(b)(6), for failure to state a claim.1




1
 Contemporaneously herewith Defendants are filing a Rule 12(e) Motion for More Definite
Statement directed at Count I (“public nuisance”) and Count VII (“trespass”) of Plaintiff’s First
Amended Complaint.
                                                   1
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 2 of 17 Page ID #224




       Plaintiff alleges that from 1936 to 1977 Monsanto manufactured PCBs (polychlorinated

biphenyls) at its plant in neighboring Sauget, Illinois (“Monsanto Plant”). (Doc. 29, ¶ 2). As a

result, PCBs were allegedly emitted “into the atmosphere” and made their way onto East St. Louis

property. Id. Plaintiff also alleges that PCBs in landfills in Sauget “regularly leached, leaked, and

escaped their disposal sites, entering and contaminating vast swaths of land in East St. Louis.”

(Doc. 29, ¶ 19). Consequently, Plaintiff concludes that “most, if not all, of the PCB

contamination found in soil samples within East St. Louis is directly attributable to the Monsanto

Plant . . . and there are no other known sources for the East St. Louis PCB contamination . . . .”

(Doc. 29, ¶ 7). Despite PCB manufacturing operations at the Monsanto Plant ending in 1977,

Plaintiff alleges that it became aware of the presence of PCBs within the City of East St. Louis a

few months ago, in December of 2020, when sampling analysis detected PCBs in the soil of

certain unidentified properties, measuring in the parts per billion. (Doc. 29, ¶¶ 10, 25).2

       As a result of these activities, Plaintiff claims Defendants violated various East St. Louis

ordinances (Counts II – VI), punishable by fines and other remedies. These ordinance-related

claims fail as a matter of law. Plaintiff attempts to effectively re-write its ordinances to apply to

the alleged circumstances in this case. The ordinances identified in the Complaint are, on their

face, intended to address and deter activities such as dumping dead animal carcasses, littering,

and the accumulation of manure, ashes, garbage, and the like on properties within the City of

East St. Louis. These ordinances do not apply to the facts alleged in the Complaint. Therefore,

Counts II – VI should be dismissed.



2
  A way to visualize one part per billion (ppb) in water “is to think of it as one drop in one billion
drops of water or about one drop of water in a swimming pool.” See the following EPA
publication online:
https://cfpub.epa.gov/ncer_abstracts/index.cfm/fuseaction/display.files/fileid/14285#:~:text=A%
20way%20to%20visualize%20one,water%20in%20a%20swimming%20pool.
                                                  2
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 3 of 17 Page ID #225




        Plaintiff has also brought product-liability claims against Defendants (Counts VIII – X).

These claims fail as a matter of law because the City is not a consumer of, nor did its alleged

harm arise from a condition of, a product that was used after being placed into the stream of

commerce.

                                       LEGAL STANDARD

        To survive a motion to dismiss, a complaint “must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). A claim “may not proceed merely because some set of facts can be imagined

that would entitle a plaintiff to relief.” Schillinger v. Kiley, 954 F.3d 990, 994 (7th Cir. 2020).

Thus, “when the allegations in a complaint, however true, could not raise a claim of entitlement

to relief,” the plaintiff’s claims should be dismissed. Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 558 (2007).

        The tenet that a court “must accept as true all of the allegations contained in a complaint”

is inapplicable to legal conclusions. Iqbal, 556 U.S. at 678, citing Twombly at 555. Further,

determining whether a complaint states a plausible claim for relief is “a context-specific task that

requires the reviewing court to draw on its judicial experience and common sense.” Id. at 679

(citation omitted).

                                            ARGUMENT

I.      The Allegations in the Complaint Do Not Support a Cause of Action under East St.
        Louis Ordinances.

        This Court should dismiss Counts II – VI, all of which allege violations of East St. Louis

ordinances, because the ordinances do not apply to the facts alleged in the City’s Complaint.

The Seventh Circuit recognizes that “[u]nder Illinois law, municipal ordinances are interpreted

according to the traditional rules of statutory construction.” Pro’s Sports Bar & Grill, Inc. v.


                                                   3
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 4 of 17 Page ID #226




City of Country Club Hills, 589 F.3d 865, 871 (7th Cir. 2009). The cardinal rule of statutory

interpretation is to “presume that [the] legislature says in a statute what it means and means in a

statute what it says.” BedRoc Ltd., LLC v. United States, 541 U.S. 176, 183 (2004). Accordingly,

courts must “first look to the language of the statute and assume that its plain meaning

‘accurately expresses the legislative purpose.’” United States v. Shriver, 989 F.2d 898, 901 (7th

Cir. 1992) (citation omitted). When the statute does not expressly provide a definition, “[the]

words will be interpreted as taking their ordinary, contemporary, common meaning.” Perrin v.

United States, 444 U.S. 37, 42 (1979). Similarly, under Illinois law, the courts are directed “to

ascertain and give effect to the intent of the enacting body, the clearest indicator of which is the

language of the ordinance itself.” Pro’s Sports Bar, 589 F.3d at 871.

       Defendants deny the claims made against them in the Complaint. Nevertheless,

Plaintiff’s allegations – that PCB molecules passively migrated from the Monsanto Plant and

from unidentified impoundments in Sauget onto certain City-owned properties in East St. Louis

– do not constitute violations punishable under East St. Louis ordinances. The ordinances at

issue, which deal with topics like dumping litter (Section 94-91), throwing raw sewage, trash, or

dead animals onto vacant properties (Section 62-45), and intentionally bringing nuisance-causing

materials into the city, or storing such materials in the city (Section 50-78), do not apply to the

facts alleged in the Complaint. Accordingly, this Court should dismiss Counts II - VI of

Plaintiff’s Complaint.




                                                  4
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 5 of 17 Page ID #227




        A.      Section 94-91 (Count II)3

        Count II of the Complaint alleges Defendants violated Section 94-91 of the East St. Louis

City Code (hereinafter, “the Code”). Section 94-91 is within Chapter 94 of the Code, the chapter

titled “Solid Waste.” Specifically, Section 94-91 falls under Article IV of Chapter 94, which

addresses “litter.”

        The title of Section 94-91 is “Dumping unlawful; exceptions; penalty for violation.” The

section states that “[n]o person shall dump, deposit, drop, throw, discard or leave, or cause or

permit the dumping, depositing, dropping, throwing, discarding or leaving of, litter upon any

public or private property.”

        The factual allegations of the Complaint do not support a violation for littering or for

unlawful “dumping” under Section 94-91. Plaintiff alleges that PCBs – detected on certain

properties in East St. Louis at the parts-per-billion level – “leached, leaked, and escaped” from

unidentified landfills in neighboring Sauget, Illinois, and were “emitted into the atmosphere,”

and were thereby “dispersed into and onto the lands of East St. Louis” at some unidentified point

or points in time. (Doc. 29, ¶¶ 2, 17 and 19). These allegations do not equate to the type of

conduct prohibited under Section 94-91. To the contrary, Section 94-91 uses active verbs and

describes intentional conduct: “dump, deposit, drop, throw, discard or leave” and “or cause or

permit the dumping, depositing, dropping, throwing, discarding or leaving of, litter . . . .”

The definition of “dump,” found in Section 94-2, uses similar language, describing deliberate

acts:

        Dump means to discard or place refuse, demolition materials or inert matter
        other than in a refuse container for storage before collection. Such term does



3
 Copies of the ordinances at issue were attached to the Complaint and are also attached hereto,
as an exhibit, for the Court’s convenience. See Exhibit 1.
                                                  5
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 6 of 17 Page ID #228




       not mean the delivery of inert matter for construction purposes to a construction
       site for which a building permit has been issued by the city.
(emphasis added).
       Plaintiff does not allege Defendants came into East St. Louis and actively dumped PCBs

there. Rather, Plaintiff alleges PCBs “leaked” and “escaped” from the plant and landfills in

Sauget. Further, the act of “dumping,” by any definition, requires some quantity of material that

can be collected and physically discarded. The term does not apply to quantities measured in the

parts per billion, as alleged in the Complaint, which by Plaintiff’s own allegations could be

detected only through sampling and analysis of soil.

       It is clear that Section 94-91 is intended to deter people from littering in East St. Louis, a

term which means dumping trash on the ground or tossing beer cans, plastic bags, candy bar

wrappers, or the like, in places where they do not belong. This is the commonly-understood

meaning of the term “littering,” as is confirmed by Chapter 94’s definition of “litter”:

       Litter means any discarded, used or unconsumed substance or waste. Such term
       may include, but is not limited to, any garbage, trash, refuse, debris, rubbish,
       grass clippings or other lawn or garden waste, newspaper, magazine, glass,
       metal, plastic or paper container or other packaging, construction material,
       abandoned vehicle (as defined in the Illinois Vehicle Code), motor vehicle part,
       furniture, oil, carcass of a dead animal, nauseous or offensive matter of any
       kind, any object likely to injure any person or create a traffic hazard, or anything
       else of an unsightly or unsanitary nature which has been discarded, abandoned
       or otherwise disposed of improperly.

Section 94-2.

       There are no allegations in the Complaint to suggest that Defendants “littered” in East St.

Louis by “dumping” quantities of any garbage, trash, refuse, debris, rubbish or other “waste” in

East St. Louis. Section 94-91 is therefore inapplicable and Count II should be dismissed.




                                                  6
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 7 of 17 Page ID #229




       B.      Section 62-45 (Count IV)

       Plaintiff alleges Defendants violated Section 62-45 of the Code. However, Chapter 62 of

the Code, which relates to public health, grants administrative authority to the city health

department to determine and abate any “nuisances” regulated under this Chapter. There is no

alleged health department involvement in this case and, in any event, Section 62-45 is

inapplicable to the facts alleged in the Complaint.

       Section 62-1 (the first section in Chapter 62) establishes a city health department (“There

is hereby established a department of the city government which shall be known as the health

department ….”). The next section, Section 62-2, is titled “Abatement or removal of nuisances;

regulations for prevention of disease.” This section provides that “[t]he health department shall

cause all nuisances to be abated which it may deem prejudicial or obnoxious to public health.”

(emphasis added). Section 62-3 then grants the health department administrative authority to

issue “orders and sanitary regulations,” provides that “any member of such departments may

order the abatement of any nuisance which may be prejudicial to the public health,” and states

that any person who disobeys an order of the health department is guilty of a misdemeanor.

Finally, Sections 62-4 through 62-10 establish the position of health and safety officer and grant

various powers to that officer.

       It is clear from the structure and content of Chapter 62 of the Code it is intended to grant

the health department administrative power to deal with public health issues, and that the health

department is the entity designated to address any “nuisances” under Chapter 62. Section 62-45

(“Vacant lots and places”), which forms the basis of Count IV of the Complaint, is part of the

overall scheme of Chapter 62. There has been no health department involvement in this matter,




                                                 7
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 8 of 17 Page ID #230




and none is alleged in the Complaint. Therefore Section 62-45, along with all of Chapter 62, is

inapplicable.

       Moreover, the language of Section 62-45 does not apply to the facts alleged in the

Complaint. Section 62-45 provides that “[n]o part of any sink, privy or cesspool,” or “any

manure, ashes, garbage, offal, rubbish, dirt, refuse, [or] waste,” or a “thing which, by its

decomposition, could or would become offensive to human beings, detrimental to health or

create, or tend to create, a nuisance shall be thrown, deposited or placed by any person upon

any vacant lot of land or vacant place upon the surface of any lot of land within the city.”

(emphasis added).

       Similar to Section 94-91, Section 62-45 on its face prohibits residents and visitors from

actively dumping or discarding garbage or waste materials onto vacant lots. The Complaint,

on the other hand, alleges that chemical compounds were dispersed through a process carried

out by wind, water and other elements of nature. Further, the materials at issue in Section 62-

45 are: those that belong in a sewer and which came from a sink, bathroom, latrine, or the like;

other unwanted materials, such as ashes from a fireplace, manure from cattle, or trash; and,

dead plants and animals which can decompose. 4 The Complaint does not allege that

Defendants emptied sewage in East St. Louis, nor that they deposited in the city any manure,

ashes, dirt, trash or dead plants or animals on vacant lots. No facts are pleaded which would

fall under Section 62-45, and therefore Count IV must also be dismissed.




4
 There is no allegation in the Complaint that PCBs “decompose,” or that they caused a nuisance
by decomposing. In fact, the Complaint alleges the opposite – that PCB are chemically “stable”
and persist in the environment. (Doc. 29, ¶¶ 3, 8).
                                                8
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 9 of 17 Page ID #231




       C.      Sections 50-71 and 50-78 (Counts III, V and VI)

       In Counts III, V, and VI of the Complaint Plaintiff splits up, into different counts,

several Sections from Chapter 50, Article III of the Code. This appears to be an attempt to

maximize the number of counts, claims and potential ordinance violations against Defendants.

However, Chapter 50, Article III, which is titled “Nuisance,” contains Sections 50-71 through

50-80, all of which are related provisions designed to be read together.

       Count V and VI allege violations of Section 50-71, which is the introductory section for

Article III titled, “Generally.” This section makes the general pronouncement that nuisances

will not be permitted (“No person shall create, commit, permit or continue a nuisance of any

kind or description in, upon or about any private property or public place within the city ….”).

See Section 50-71(a). It is Sections 50-72 through 50-78, which follow 50-71, that establish

and define the types of nuisances prohibited by Article III. See, e.g., Sec. 50-72 (“Offensive

premises”); Sec. 50-73 (“Offensive animal pens, stables, etc.”); Sec. 50-74 (“Lots containing

standing water”). Then, at the end of the Article, Sections 50-79 and 50-80 establish the

remedy of abatement (Section 50-79)5 and explain required notice procedures (Section 50-80).

       Of the specific nuisance provisions contained in Article III, Plaintiff focuses (in Count

III) on Section 50-78. The section states:

       Sec. 50-78. - Keeping or bringing into the city substances occasioning a nuisance.

       No person shall bring into or keep within the city for sale or otherwise, either for
       food or any other purpose whatsoever, any animal, dead or alive, matter,
       substance or thing which shall be or occasion a nuisance within the city or which
       may or shall be dangerous or detrimental to the public health.

(emphasis added).

5
 Count VI of the Complaint alleges violations of §§ 50-71, 50-79 and 62-2 of the Code, however
§§ 50-79 and 62-2 simply discuss the remedy of abatement; those are not provisions which can
be “violated.”
                                                 9
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 10 of 17 Page ID #232




       As with the Code sections above, 50-78 does not apply to the conduct alleged in the

Complaint. Molecules of PCBs which, according to the Complaint, were detected only recently

in the parts-per-billion range, do not fit the description contained in 50-78 of “any animal, dead or

alive, matter, substance or thing,” particularly when that description is combined with the phrase

“bring into or keep within the city.” There is no allegation in the Complaint that Defendants

actively “brought” PCBs into East St. Louis or actively “kept” PCBs in East St. Louis, “for sale or

otherwise.” Again, Plaintiffs allege that PCBs leached, leaked and were carried through the

atmosphere, from the Monsanto Plant and from landfills in Sauget. Such allegations are not

covered by the language of Section 50-78.

       To further underscore the inapplicability of 50-78, it is important to point out that “[t]he

Illinois Supreme Court has repeatedly described a nuisance as something that is offensive,

physically, to the senses and by such offensiveness makes life uncomfortable.” Schweihs v. Chase

Home Finance, LLC, 2015 IL App (1st) 140683 (2015) at ¶ 40 (internal quotes omitted), citing In

re Chicago Flood Litigation, 176 Ill.2d 179, 205 (1997); see also Avery v. GRI Fox Run, LLC,

2020 IL App (2d) 190382 (2020) at ¶ 44 (citing In re Chicago Flood Litigation for the proposition

that a nuisance is “something perceptible to” and “offensive” to the senses) (emphasis added).

“Typical examples” of a nuisance include “noise, smoke, vibration, dust, fumes, and odors.”

Schweihs at ¶ 40, citing In re Chicago Flood Litigation at 205-06. None of these descriptions of

a nuisance, under Illinois law, match the allegations in the Complaint. PCBs, at the levels alleged

to be on East St. Louis property, are imperceptible – they are invisible, emit no light, sound,

vibration or odor.




                                                 10
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 11 of 17 Page ID #233




       In sum, the facts alleged in the Complaint does not fit within the language or contemplation

of Section 50-78. Neither this section, nor any of the Chapter 50, Article III ordinances are

applicable and therefore Counts III, V and VI should all be dismissed.

       D.      Any attempt to pursue code violations beyond the narrow language of the
               ordinances would violate due process.

       To the extent Plaintiff tries to effectively re-write any of the above-referenced

ordinances, contrary to their plain language, Plaintiff violates Defendants’ due process rights. As

explained in City of Aurora v. Navar, 210 Ill.App.3d 126, 133 (2nd Dist. 1991), “[t]he language

of an ordinance must convey sufficiently definite warning and fair notice of what conduct is

proscribed.” Due process is violated “if a law is so vague and devoid of standards as to leave the

public unsure of what is and is not prohibited, or if it fails to supply adequate guidelines to the

administrative body which must enforce it.” Id. at 132 (citations omitted).

       The ordinances in Chapter 50, Article III of the Code, for example, should be construed

consistent with the plain meaning of the terms used therein. It should be noted that, while

Sections 50-72 to 50-78 define the specific nuisances at issue in this portion of the Code,

Section 50-71(b) is written as a catchall, purporting to extend the City’s enforcement authority to

any nuisance defined anywhere within the Code or anywhere within any statute of the State of

Illinois. If, in fact, Plaintiff’s action against Defendants is relying on 50-71(b) as a catchall

provision, such provision is unenforceable under due process principles. In Village of Worth v.

Watson, 233 Ill.App.3d 974, 976 (1st Dist. 1992) the ordinance at issue prohibited the storage of

“junk” on a person’s property. A section of the ordinance provided that any terms not

specifically defined therein were to be construed by their generally accepted meanings “as

defined in the most recent publication of Webster’s Dictionary.” Id. at 981 The court noted that

the name “Webster’s” is used with more than one dictionary, and dictionary definitions of “junk”


                                                  11
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 12 of 17 Page ID #234




vary. Id. at 982. It held the ordinance section at issue was “indefinite and therefore void.” Id.

In a similar way, there is no “definitive warning” or “fair notice” (City of Aurora, 210 Ill.App.3d

at 133) under an ordinance provision that adopts, by reference, any “nuisance” mentioned or

described within any Illinois statute; the City’s ordinances cannot be enforced in such a broad,

vague and indefinite way.

II.    The Allegations in the Complaint Do Not Support a Cause of Action for Product
       Liability.

       A claim for product liability under Illinois law requires that the alleged harm to the

plaintiff arise from the use of a product that had been placed into the stream of commerce. This

Court should dismiss Plaintiff’s product-liability claims (Counts VIII – X)6 because Plaintiff’s

alleged injuries, according to the Complaint, were not caused by Plaintiff’s or by anyone else’s

use of PCB products that had been placed into the stream of commerce.

       The Illinois Supreme Court has adopted the strict liability doctrine set forth in section

402A of the Second Restatement of Torts. See Calles v. Scripto-Tokai Corp., 224 Ill.2d 247, 254

(2007). The Restatement provides:

       (1) One who sells any product in a defective condition unreasonably dangerous to the
       user or consumer or to his property is subject to liability for physical harm thereby
       caused to the ultimate user or consumer, or to his property, if

               (a) the seller is engaged in the business of selling such a product, and

               (b) it is expected to and does reach the user or consumer without substantial
               change in the condition in which it is sold.

       (2) The rule stated in Subsection (1) applies although


6
  Counts VIII and IX of the City’s Complaint allege Defendants’ PCB mixtures and PCB-
containing products were unsafe and unreasonably dangerous as designed (Count VIII – Design
Defect) and that Defendants failed to warn or instruct consumers about the dangers and hazards
associated with PCBs (Count IX – Failure to Warn and Instruct), see Doc. 29 at ¶¶ 84-104. Count
X is addressed below.
                                                12
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 13 of 17 Page ID #235




                 (a) the seller has exercised all possible care in the preparation and sale of his
                 product, and

                 (b) the user or consumer has not bought the product from or entered into any
                 contractual relation with the seller.

Restatement (Second) of Torts § 402A (emphasis added); see also Calles at 254 (quoting the

italicized language above); Mikolajczjk v. Ford Motor Co., 231 Ill.2d 516, 524 (2008) (“[T]his

court recognized a cause of action for strict liability in tort against the manufacturer of a product

whose defective condition made it unreasonably dangerous to the user or consumer. This court

noted that its conclusion ‘coincided with the position taken in section 402A of the . . .

Restatement of the Law of Torts,’ which had recently been approved.”) (emphasis added)

(citation and internal quotations omitted). Indeed, many of the policy considerations embodied

by strict liability focus on “the protection of consumers, with their unequal bargaining power and

lack of access to information, from accidental injuries.” Chicago Heights Venture v. Dynamit

Nobel of America, Inc., 575 F.Supp. 214, 217 (N.D. Ill., 1983)

       Here, the alleged harm to Plaintiff in Counts VIII and IX (and throughout the entire

Complaint) is not alleged to be the result of Defendants placing PCBs or PCB-containing

products into the stream of commerce, or the result of PCB products being used by Plaintiff or by

anyone else. Rather, Plaintiff asserts that PCBs were allegedly emitted into the atmosphere from

the Monsanto Plant and escaped landfills in Sauget, Illinois, to properties in East St. Louis.

(Doc. 29, ¶¶ 2 and 19). These alleged facts do not support strict product liability claims, as a

matter of law.

       Further, in design-defect actions (Count VIII), Illinois courts recognize two tests that a

plaintiff may use to demonstrate a defect: the “consumer-expectation test” and the “risk utility

test.” Calles, 224 Ill.2d at 255. The rationale for utilizing these tests is that, “at a minimum a



                                                   13
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 14 of 17 Page ID #236




product must meet ordinary consumer expectations as to safety to avoid being found defective.”

Id. at 256. Moreover, under a failure to warn theory (Counts IX and X), Illinois courts require a

plaintiff to demonstrate “that the manufacturer did not disclose an unreasonably dangerous

condition or instruct on the proper use of the product as to which the average consumer would

not be aware.” Hakim v. Safariland, LLC, 410 F.Supp.3d 862, 870 (N.D. Ill. 2019) (internal

citation omitted). The warning’s purpose “is to inform the consumer about a danger of which

[he] is not aware, thus enabling [him] to take appropriate measures to protect [himself].” Winkler

v. Madix, Inc., 2018 WL 4286197, *9 (N.D. Ill. Sept. 7, 2018) (internal citation omitted). Thus,

the tests employed by Illinois courts to analyze strict product liability claims all have a common

theme – protecting a consumer of the product. Again, Plaintiff does not claim that the alleged

harms at issue in this case resulted from use by Plaintiff, or by any other consumer, of any PCB

or PCB-containing product placed into the stream of commerce by Defendants. Thus, Plaintiffs

strict products liability claims (design defect and failure to warn) must fail.

       Finally, Plaintiff asserts a third claim for product liability (Count X – Failure to Warn);

this one sounding in negligence. (Doc. 29, ¶ 111) (The City “has suffered, is suffering, and will

continue to suffer into the indeterminable future injuries to its lands, and damages to its public

treasury as a result of Defendants’ failure to warn and instruct.”) (emphasis added). “In order

to prove a negligent failure to warn claim, a plaintiff must show that the manufacturer

negligently failed to instruct or warn of a danger of the product and that failure proximately

caused the plaintiff’s injuries.” Norabuena v. Medtronic, Inc., 2017 IL. App. (1st) 162928, 86

N.E.3d 1198, 1207, 416 Ill. Dec. 913, 922 (2017). Plaintiff has failed to adequately plead that its

injuries were proximately caused by Defendants negligently failing to instruct or warn the City

of the danger of PCB products. Indeed, as discussed at length above, Plaintiff has not alleged



                                                  14
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 15 of 17 Page ID #237




that it (or anyone) has ever been a consumer or user of PCB products to whom Defendants had a

duty to warn. Consequently, whether under the guise of strict liability or negligence, Plaintiff’s

allegations that Defendants failed to warn the City equally fail.

                                          CONCLUSION

       The allegations of Plaintiff’s First Amended Complaint – which describe alleged leaking,

leaching, escape, release and migration of PCBs from the Monsanto Plant and unidentified

landfills in Sauget, Illinois – do not support any cause of action for violation of, and penalties

under, East St. Louis ordinances, or for product liability under Illinois law. Accordingly,

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, this Court should dismiss

Counts II – VI and Counts VIII – X of Plaintiff’s First Amended Complaint, and grant such other

relief as the Court deems just and proper.



Dated: May 28, 2021.                                   Respectfully submitted,

                                                       LATHROP GPM LLP

                                               By:     /s/ Charles R. Hobbs, II
                                                       Charles R. Hobbs, II (625917)
                                                       Ron.Hobbs@lathropgpm.com
                                                       Mitchell A. Martin (631425)
                                                       Mitchell.Martin@lathropgpm.com
                                                       Pierre Laclede Center
                                                       7701 Forsyth Boulevard, Suite 500
                                                       Clayton, Missouri 63105
                                                       Telephone: 314.613.2800
                                                       Fax: 314.613.2801

                                                       Attorneys for Defendant Solutia Inc.




                                                 15
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 16 of 17 Page ID #238




                                          YSURSA LAW OFFICES, LLC

                                   By:    /s/ Bernard J. Ysursa (by consent)
                                          Bernard J. Ysursa (3095754)
                                          bjy@cbsclaw.com
                                          12 W. Lincoln Street
                                          Belleville, IL 62220
                                          Telephone: 618.235.3500
                                          Fax: 618.235.7286

                                          Attorneys for Defendant Solutia Inc.


                                          CAPES SOKOL GOODMAN &
                                          SARACHAN, PC

                                   By:    /s/ Adam E. Miller (by consent)
                                          Adam E. Miller (6206249)
                                          miller@capessokol.com
                                          8182 Maryland Avenue, 15th Floor
                                          St. Louis, MO 63105
                                          Telephone: 314.721.7701
                                          Fax: 314.754.4811

                                          Attorneys for Defendants Monsanto Company
                                          and Pharmacia LLC




                                     16
Case 3:21-cv-00232-DWD Document 32 Filed 05/28/21 Page 17 of 17 Page ID #239




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 28th day of May, 2021, the foregoing
document was filed electronically with the Clerk of Court and served upon all counsel of record
via the Court’s CM/ECF filing system.


                                                    ____/s/ Charles R. Hobbs, II_______




                                               17
